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                                                                                             July 13, 2022
Hon. Gabriel W. Gorenstein, U.S.M.J.
United States District Court, Southern District of New York
Daniel Patrick Moynihan Courthouse, 500 Pearl Street
New York, New York 10007

By Electronic Filing.

        Re:     In re: New York City Policing During Summer 2020 Demonstrations,
                1:20-CV-8924 (CM) (GWG) — This Letter Relates to All Cases

Dear Judge Gorenstein:

         I write on behalf of Plaintiffs in the consolidated cases, to ask that the Court set a date past
which it will deem any of Defendants’ rights related to pending sealing issues waived — and allow
Plaintiffs to complete the public record.

       In an analogy to the process in Dkt. No. 317, at around 11.30 a.m. yesterday, I sent a
previous draft of this letter to Defendants and asked them to provide a position, let us know if they
objected or wanted a particular deadline, or otherwise wanted to meet and confer on these issues. I
informed Defendants we intended to file if we had not heard from them in 24 hours. More than 24
hours have passed without any response.

        By way of background, Defendants have designated a lot of material as “Confidential” under
the applicable Order. In various applications over the past few months, Plaintiffs have redacted or
not filed such material on the public docket. Under the Court’s Individual Practice 2(E),
Defendants then had “the obligation to make the written application to the Court justifying the
proposed sealing.” Thus, notwithstanding the Court’s caution “remind[ing] the parties that the mere
fact that material has been designated as confidential under a protective order will not support
sealing and the party making the designation must reconsider any prior designation in light of the
case law applicable to filing documents under seal” (id.), Defendants’ “mere” designation of
materials has ultimately been determinative. Materials have been sealed by default or otherwise
redacted without a sealing application in Dkt. Nos. 613, 594, 586, 549, 506, and 369 and the related
attachments/submissions.

         This is a case of significant public importance and interest. The public has a right to see
what is driving the Court’s decisions. And it is of no small importance, given that the subject of this
litigation is First Amendment expressions, that the attorneys involved keep the public’s rights in
mind. So, we ask the Court to set a deadline for all of these outstanding applications.

        Once again, we thank the Court for its continued time and attention.
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                                             Respectfully submitted,
                                                  /s/
                                             _________________
                                             J. Remy Green
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cc:
All relevant parties by electronic filing.




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